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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                        Plaintiff,



                        vs.                               Case No. 07-10142-JTM


 SYCARR GREENLEY,
                        Defendant.




                                     MEMORANDUM AND ORDER

       This matter comes before the court on Sycarr Greenley’s Request for Modification of Term

of Imprisonment Imposed (Dkt. No. 1761). The court denies the motion.

       “A district court is authorized to modify a Defendant’s sentence only in specified instances

where Congress has expressly granted the court jurisdiction to do so.” United States v. Blackwell,

81 F.3d 945, 947 (10th Cir. 1996). Under 18 U.S.C. § 3582(c), a district court may modify a sentence

in three circumstances: (1) “upon motion of the Director of the Bureau of Prisons . . . after

considering the factors set forth in section 3553(a)”; (2) “the court may modify an imposed term of

imprisonment to the extent expressly permitted by statute or by Rule 35 of the Federal Rules of

Criminal Procedure”; and (3) “in the case of a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission . . . if such a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.” 18 U.S.C. § 3582(c)(1)(A) to (c)(2) (2000).
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        First, Mr. Greenley argues that this court should modify his sentence based on the recent

crack-cocaine amendment to the guidelines. Although the amendment applies retroactively, “[a]

reduction in the defendant’s term of imprisonment . . . is not authorized under 18 U.S.C. §

3582(c)(2) if—an amendment listed in subsection (c) does not have the effect of lowering the

defendant’s applicable guidelines range. USSG § 1B1.10, p.s. Here, Mr. Greenley’s guideline range

before the amendment was 210 to 260 months—criminal offense level 32 and a criminal history of

VI. After the amendment, his guideline range remains the same. Thus, a reduction in his sentence

is not authorized under 18 U.S.C. § 3582(c)(2).

        Mr. Greenley also argues that this court should modify his sentence under 18 U.S.C. §

3582(c)(1)(A)(i). This section is not applicable, however, because the court may only modify “upon

motion of the Director of the Bureau of Prisons.” Therefore his motion must fail on this ground as

well.

        IT IS ACCORDINGLY ORDERED this 21st day of December 2011, that Sycarr Greenley’s

Request for Modification of Term of Imprisonment Imposed (Dkt. No. 1761) is denied.



                                                      s/ J. Thomas Marten
                                                      J. THOMAS MARTEN, JUDGE




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